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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                         Criminal No. 22-CR-194(SRN/ECW)

 UNITED STATES OF AMERICA,

                      Plaintiff,

         v.                                NOTICE OF ADDING AN ATTORNEY

 DANIEL JAMES HART,

                      Defendant.


        Please add the following Assistant United States Attorney to the above-captioned

case:

        Add AUSA’s

        Tom Calhoun-Lopez

        Samantha Bates

Dated: September 29, 2022                       Respectfully submitted,

                                                ANDREW M. LUGER
                                                United States Attorney

                                                s/ Samantha Bates

                                                BY: SAMANTHA H. BATES
                                                Assistant United States Attorney
                                                Attorney ID No. 395002
